        Case 1:15-cv-00359-VSB-KNF Document 1 Filed 01/16/15 Page 1 of 8




DAVID GRAFF (DG7011)
RACHAEL KIERYCH (RK1339)
ANDERSON KILL P.C.
1251 Avenue ofthe Americas
New York, NY 10020
Dgraff@andersonkill.com
Rkierych@andersonkill.com

Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETER D. SCHIFF, AND EURO PACIFIC
CAPITAL INC.,
                               Plaintiffs,
                       vs.
                                             Index No.:   /S   fJI (J 3 r-9
                                             COMPLAINT
YA YI INTERNATIONAL INC.,
                               Defendant.




              MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS'
            MOTION FOR SUMMARY JUDGMENT IN LIEU OF COMPLAINT




                                                  ANDERSON KILL P.C.
                                                  David Graff, Esq.
                                                  Rachael Kierych, Esq.
                                                  1251 Avenue of the Americas
                                                  New York, New York 10020

                                                  Attorneys for Plaintiffs




nydocsl-1039911.5
           Case 1:15-cv-00359-VSB-KNF Document 1 Filed 01/16/15 Page 2 of 8




                                                   TABLE OF CONTENTS

                                                                                                                                     PAGE
THE PARTIES ................................................................................................................................... I

JURISDICTION AND VENUE ........................................................................................................ 1

PRELIMINARY STATEMENT ....................................................................................................... 2

STATEMENT OF FACTS ................................................................................................................ 2

ARGUMENT ..................................................................................................................................... 3

PLAINTIFFS SHOULD BE GRANTED SUMMARY JUDGMENT IN LIEU OF
     COMPLAINT PURSUANT TO CPLR § 3213 AS A MATTER OF LAW ......................... 3

I.         SUMMARY JUDGMENT STANDARD OF REVIEW ....................................................... 3

II.        PLAINTIFFS HAVE ESTABLISHED THEIR PRIMA FACIE CASE AS
           DEFENDANT DULY EXECUTED AND DEFAULTED ON THE NOTE ........................ 4

CONCLUSION .................................................................................................................................. 5




                                                                       1
nydocs 1-1039911.5
          Case 1:15-cv-00359-VSB-KNF Document 1 Filed 01/16/15 Page 3 of 8




                                                 TABLE OF AUTHORITIES

                                                                                                                                     Page(s)



Bassin-Schneider v. Stutler,
   39 Misc.3d 1214(A), 2013 WL 1703983 (N.Y. Sup. Ct. Apr. 19, 2013) .............................. 3-4

Interman Indus. Prods., Ltd. v. R.S.M. Electron Power, Inc.,
    37 N.Y.2d 151 (N.Y. 1975) ....................................................................................................... 4

O'Brien v. O'Brien,
   258 A.D.2d 446 (2d Dept. App. Div. 1999) ............................................................................. .4

Raico v. Concorde Funding Group,
   60 A.D.3d 834, 875 N.Y.S.2d 251 (2d Dept. App. Div. 2009) ................................................ .4

Winegrad v. New York Univ. Med. Ctr.,
   64 N.Y.2d 851 (N.Y. 1985) ....................................................................................................... 3

Wolfv. Citibank N.A.,
  34 A.D.3d 574, 824 N.Y.S.2d 176 (1st Dept. App. Div. 2006) .................................................. 4

STATUTES

28 U.S.C. § 1332 .............................................................................................................................. 1

28 U.S.C. § 1391 .............................................................................................................................. 1

CPLR § 3213 ................................................................................................................................ 1, 3




                                                                       11
nydocs 1-1039911.5
        Case 1:15-cv-00359-VSB-KNF Document 1 Filed 01/16/15 Page 4 of 8




                    Plaintiff Peter D. Schiff ("Investor Plaintiff') and Euro Pacific Capital, Inc.

(referred to individually as "Euro Pacific" and collectively with Investor Plaintiff as "Plaintiffs"),

by and through their undersigned attorneys, move for Summary Judgment in Lieu of Complaint

pursuant to Federal Rule of Civil Procedure 69 and CPLR § 3213 for payment of a monetary

instrument due and owed by defendant Yayi International Inc. ("Yayi" or "Defendant") and

allege as follows:

                                              THE PARTIES

                    1.     Defendant Yayi International Inc. is incorporated under the laws of the

state of Delaware with its principal business operations in the People's Republic of China. Yayi

through its principal operating business is engaged in the business of manufacturing and selling

goat milk powder for the production of goat milk formula products for infants, toddlers, young

children, and adults.

                    2.     Plaintiff Peter D. Schiff is an individual residing in Weston, Connecticut.

                    3.     Plaintiff Euro Pacific Capital Inc. is an investment company incorporated

under the laws of the state of California, with its principal place of business in Westport,

Connecticut.

                                     JURISDICTION AND VENUE

                    4.     This Court has proper subject matter jurisdiction pursuant to 28 U.S.C.

§ 1332 in that there is complete diversity, and the matter in controversy exceeds the sum or value

of$75,000, exclusive of interest and cost.

                    5.     Venue is proper in the in the Southern District ofNew York pursuant to 28

U.S.C. § 1391, because the Defendant is subject to this court's personal jurisdiction subject to

the choice of law clause in the contracts at issue herein.




nydocs1-1039911.5
        Case 1:15-cv-00359-VSB-KNF Document 1 Filed 01/16/15 Page 5 of 8




                                      PRELIMINARY STATEMENT

                    6.      Plaintiffs bring this summary judgment motion as a matter of law against

Defendant based on its failure to pay Plaintiffs sums of monies due and owing pursuant to a

promissory note (the "Note"). Yayi's default and inability to fulfill its obligations under the

Notes is a result of bad faith on the part of a foreign entity with an utter disregard for their debts

owed to Plaintiffs. Y ayi thereby failed to repay the Notes, and as such, is liable for the debt due

and owed to Plaintiffs.

                                          STATEMENT OF FACTS

                    7.     On or about September 27, 2010, Plaintiffs, along with other investors,

and Yayi entered into the Note 1 whereby Yayi promised to pay Investor Plaintiff a total of

$8,920,000 (the "Principal") at nine percent (9%) interest per annum. See Affidavit of Peter

Chema sworn to January 15, 2015 (hereinafter "Chema Aff."), Exhibit 1.

                    8.     Pursuant to the Note, "the principal amount hereof and all accrued but

unpaid interest shall be paid in full to the Holder on the three (3) year anniversary of the date of

closing of the Minimum Amount" (hereinafter the "Maturity Date").                            Id.   Pursuant to the

Securities Purchase Agreement between Yayi and Euro Pacific, acting as a "Placement Agent"

on behalf of the Investor Plaintiff, the "Minimum Amount" as cited in the Note was closed upon

the execution of the Securities Purchase Agreement on or about September 27, 2010.                                See

Chema Aff., Exhibit 2. As such, pursuant to the aforementioned agreements, the Maturity Date

for the Note was September 27, 2013.




          This debt is convertible to an equity stake in Yayi's company pursuant to Section 5 of the Note, which
states "[e]ach holder of the Notes shall have the right, exercisable at any time prior to the Maturity Date, to convert
all, but not less than all, of the principal amount then outstanding into shares of [Yayi] Company's common stock,
par value $0.001 per share[] at a conversion price[) equal to $2.00 per share[]." To date Investor Plaintiff has not
converted the debt to equity pursuant to the Note.

                                                           2
nydocs1-1039911.5
         Case 1:15-cv-00359-VSB-KNF Document 1 Filed 01/16/15 Page 6 of 8




                     9.    Moreover, the pertinent language of Section 3 states "[t]he Interest[] shall

accrue on the outstanding principal amount of this Note from the date hereof until such principal

amount is repaid in full at the rate of nine percent (9%) per annum, payable semiannually in

arrears on the first and third calendar quarters (i.e., March 31 and September 30) commencing

March 31, 2011." See Chema Aff., Exhibit 1.

                     10.   Section 12 of the Note also states that "[t]he Company agrees that, in the

Event of Default, to reimburse the Holder for all reasonable costs and expenses (including

reasonable legal fees of one counsel) incurred in connection with the enforcement and collection

of this Note." See Chema Aff., Exhibit 1 at Section 12.

                     11.   Defendant defaulted under the terms of the Note as it ceased making

interest payments after September 30, 2012-over a year before the Maturity Date-and

subsequently failed to tender any of the principal amount of the monies due and owed under the

Note. See Chema Aff., ,, 10-11. Thus, Defendant is required to pay Plaintiffs the monies due

and owed under the Notes with interest at a rate of 9% per annum thereon.

                                              ARGUMENT

     PLAINTIFFS SHOULD BE GRANTED SUMMARY JUDGMENT IN LIEU OF
        COMPLAINT PURSUANT TO CPLR § 3213 AS A MATTER OF LAW

I.       SUMMARY JUDGMENT STANDARD OF REVIEW

                     12.   The standards of summary judgment are well settled. A party moving for

summary judgment is required to make a prima facie showing that it is entitled to judgment as a

matter of law by providing sufficient evidence to eliminate any material issues of fact from the

case. Winegrad v. New York Univ. Med. Ctr., 64 N.Y.2d 851, 853 (N.Y. 1985). Once such

entitlement has been demonstrated by the moving party, the burden shifts to the party opposing

the motion to "demonstrate by admissible evidence the existence of a factual issue requiring a


                                                     3
nydocsl-103991 1.5
         Case 1:15-cv-00359-VSB-KNF Document 1 Filed 01/16/15 Page 7 of 8




trial of the action or tender an acceptable excuse for his failure ... to do [so]". See Bassin-

Schneider v. Stutler, 39 Misc.3d 1214(A), 2013 WL 1703983, at *2 (N.Y. Sup. Ct. Apr. 19,

2013) (quoting Zuckerman v. City ofNew York, 49 N.Y.2d 557, 560 (N.Y. 1980)).

                     13.   As discussed in greater detail herein, Plaintiffs have established their

prima facie case, and, as no triable issues of fact exists, Plaintiffs are entitled to summary

judgment as a matter oflaw.

II.      PLAINTIFFS HAVE ESTABLISHED THEIR PRIMA FACIE CASE AS
         DEFENDANT DULY EXECUTED AND DEFAULTED ON THE NOTE

                     14.   In an action to recover payment under a promissory note, the New York

Court of Appeals has held that is appropriate to grant summary judgment where there is evidence

that there exists an instrument for the payment of money that was duly executed by defendant

and under which defendant has defaulted by failing to pay in accordance with the instrument's

terms. Interman Indus. Prods., Ltd. v. R.S.M. Electron Power, Inc., 37 N.Y.2d 151 (N.Y. 1975).

Thus, a plaintiff in such an action establishes a prima facie case of entitlement to summary

judgment when the Court finds that the note in question was duly executed and that defendant

has defaulted thereunder. See O'Brien v. O'Brien, 258 A.D.2d 446 (2d Dept. App. Div. 1999);

see also Raico v. Concorde Funding Group, 60 A.D.3d 834, 836, 875 N.Y.S.2d 251, 253 (2d

Dept. App. Div. 2009) (finding "plaintiff established its prima facie entitlement to judgment as a

matter oflaw on his causes of action seeking recovery... on notes executed ... [and] failure to

make payment in accordance with their terms."); Wolf v. Citibank N.A., 34 A.D.3d 574, 575,

824 N.Y.S.2d 176, 176 (1st Dept. App. Div. 2006) (holding prima facie entitlement to judgment

as a matter of law by submission of proof of promissory notes and affidavit establishing failure

to make payments in accordance with the terms of the note).




                                                   4
nydocs1-1 039911.5
          Case 1:15-cv-00359-VSB-KNF Document 1 Filed 01/16/15 Page 8 of 8




                    15.   Here, there is no question that Defendant executed the Note and defaulted

thereunder. See generally Chema Aff. Thus, as there no triable issues of fact, Plaintiffs are

entitled to summary judgment as a matter of law in the aggregate amount of $8,920,000.00 with

interest thereon at a rate of 9%.

                                           CONCLUSION

                    16.   For the foregoing reasons, it is respectfully submitted that Plaintiffs'

Motion for Summary Judgment in Lieu of Complaint must be granted against Defendant Yayi

International Inc., in the sum of $8,920,000.00, together with interest thereof, all reasonable costs

and expenses (including reasonable legal fees of one counsel) incurred in connection with the

enforcement and collection of the Notes, and such other relief as this Court deems just and

proper.

Dated: January 16, 2015
       New York, New York

                                                       Respectfully submitted,

                                                       ANDERSON KILL P.C.
                                                               ~/'""".   /'/
                                                           (;;;'/)) ~::// ~
                                                        //~
                                                       David Graff, Esq.
                                                       Rachael Kierych, Esq.
                                                       1251 A venue of the Americas
                                                       New York, New York 10020
                                                       Tel.: 212-278-1000
                                                       Fax: 212-278-1733

                                                       Attorneys for Plaintiffs




                                                   5
nydocs1-1039911.5
